

People v Cherif (2023 NY Slip Op 05325)





People v Cherif


2023 NY Slip Op 05325


Decided on October 19, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 19, 2023

Before: Manzanet-Daniels, J.P., Kern, Scarpulla, Mendez, O'Neill Levy, JJ. 


Ind No. 974/21 Appeal No. 818 Case No. 2022-03302 

[*1]The People of the State of New York, Respondent,
vAbdourahman Cherif, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (David Gagne of counsel), for respondent.



Judgment, Supreme Court, New York County (Thomas Farber, J. at plea; Abraham Clott, J. at sentencing), rendered July 19, 2022, convicting defendant of attempted criminal possession of a weapon in the second degree, and sentencing him to a term of one year, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed on defendant at sentencing, and otherwise affirmed.
Defendant's Second Amendment claim is unpreserved, and we decline to address it in the interest of justice (see People v Adames, 216 AD3d 519 [1st Dept 2023]). As an alternative holding, we find that on the present record, defendant has failed to establish that Penal Law § 265.03(3) is unconstitutional under New York State Rifle &amp; Pistol Assn., Inc. v Bruen (597 US &amp;mdash, 142 S Ct 2111 [2022]), or that he would be entitled to vacatur of his conviction on that basis.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 19, 2023








